Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 1 of 21

UNITED STATES DISTRICT COURT

9. ROSA PENA,
10. JUAN MERCED-TORO, a/k/a “EMILIO

DISTRICT OF MASSACHUSETTS wh ae A o
oye als oa
UNITED STATES OF AMERICA ) — oo.
) CR. NO
Vv. )
) VIOLATIONS:
1. LUIS ALBERTO ALDADINO, )
a/k/a "BETO", )
2. DAVID ALBA, a/k/a "DAVID )
THOMAS ALBA GARCIA", a/k/a)
“OMAR GONZALEZ”, a/k/a )
*JOSELTTO”, ) 21 U.S.C. § 846--
3. GLENNYS RODRIGUEZ, ) Conspiracy to Distribute,
4. MANUEL DISLA, a/k/a “PICHON”, ) and to Possess with
5. ADNEER GONZALEZ, a/k/a “WILLY”, ) Intent to Distribute,
6. VICTOR FILFPO, ) Heroin,
a/k/a “EL COMPADRE”, )
7.  LEOANNY HERNANDEZ, ) 2140U.S.C. § 853--
a/k/a “ANNY” ) Criminal Forfeiture
8. LUIS OLMO DIAZ, ) Allegation
}
)

PEREZ”, a/k/a “BOTI”, )
11. ROSA IRIS VELASQUEZ TEJEDA, )
12. FERMIN HERNANDEZ, )

13. CARLOS RAMIREZ, a/k/a “SUMO”, )
14. JOSE NAVARRO, a/k/a “RENE”, and)
15. GLADYS ARCE, )

INDICTMENT

COUNT ONE: (21 United States Code, Section 846--Conspiracy to

Distribute, and to Possess With Intent to
Distribute, Heroin)

The Grand Jury charges that:

From a time unknewn to the Grand Jury, but at least by in or
about December 2003, and continuing thereafter until in or about
January 2005, at Jamaica Plain, Hyde Park, Lynn, and elsewhere in
the District of Massachusetts, in the Bronx, Queens, and

elsewhere in the District of New York, and elsewhere,
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 2 of 21

1. LUIS ALBERTO ALDADINO, A/K/A "BETO",

2. DAVID ALBA, a/k/a "DAVID THOMAS ALBA GARCIA", a/k/a
“OMAR GONZALEZ”, a/k/a “JOSELITO”,

3. GLENNYS RODRIGUEZ,

4. MANUEL DISLA, a/k/a “PICHON”,

5. ADNEER GONZALEZ, a/k/a “WILLY”,

6. VICTOR FILPO, a/k/a “EL COMPADRE”,

7. LEOANNY HERNANDEZ, a/k/a “ANNY’,

8. LUIS OLMO DIAZ,

9. ROSA PENA

10. JUAN MERCED-TORO, a/k/a “EMILIO PEREZ”, a/k/a “BOTI",

11. ROSA IRIS VELASQUEZ TEJEDA,

12. FERMIN HERNANDEZ,

13. CARLOS RAMIREZ, a/k/a “SUMO”,

14. JOSE NAVARRO, a/k/a “RENE”,

15. GLADYS ARCE,

defendants herein, did knowingly and intentionally combine,
conspire, confederate and agree with each other, and with other
persons known and unknown to the Grand Jury, to distribute, and
to possess with intent to distribute, heroin, a Schedule I
controlled substance, in violation of 21, United States Code,
Section 841(a) (1}.

The Grand Jury further charges that the conspiracy involved
one kilogram or more of a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance,
in violation of 21, United States Code, Section 841(b) (1) (A).

All in viclation of Title 21, United States Code, Sections

846, 841(a) (1), and 841 (b) (1) (A).
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 3 of 21

FORFEITURE ALLEGATION

(21 U.S.C. § 853)

The Grand Jury further charges that:

1.

As a result of the offenses alleged in Count 1 of this

Indictment,

1.

bo

LUIS ALBERTO ALDADINO, a/k/a "BETO",

DAVID ALBA, a/k/a "DAVID THOMAS ALBA GARCIA" a/k/a
“OMAR GONZALEZ”, a/k/a “JOSELITO”,

GLENNYS RODRIGUEZ,

MANUEL DISLA, a/k/a “PICHON”,

ADNEER GONZALEZ, a/k/a “WILLY’,

VICTOR FILPO, a/k/a “EL COMPADRE”,

LEOANNY HERNANDEZ,

LUIS OLMO DIAZ,

ROSA PENA

JUAN MERCED-TORO, a/k/a “EMILIO PEREZ”, a/k/a “BOTI”,

ROSA IRIS VELASQUEZ TEJEDA,

FERMIN HERNANDEZ,

CARLOS RAMIREZ, a/k/a “SUMO”,

JOSE NAVARRO, a/k/a “RENE”, and

GLADYS ARCE,

defendants herein, shall forfeit to the United States any and all

property constituting, or derived from, any proceeds the

defendant obtained, directly or indirectly, as a result of such

offenses; and/or any property used or intended to be used, in any

manner or part, to commit, or to facilitate the commission of,

any such violations.

2.

If any of the property described in paragraph 1, above,

as a result of any act or omission of the defendants —

(a} cannot be located upon the exercise of due
diligence;
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 4 of 21

(b) has been transferred or sold to, or deposited
with, a third party;

(c) has been placed beyond the jurisdiction of the
Court;

{d) has been substantially diminished in value; or

(e) has been commingled with other property which
cannot be subdivided without difficulty;

it is the intention of the United States, pursuant to Title 21,
United States Code, Section 853(p}, to seek forfeiture of any
other property of the defendants up to the value of the property
described in paragraph 1.

All in violation of Title 21, United States Code, Section

853.
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 5 of 21

A TRUE BIULL,

Cp fe AG. , “ye.
FOREPERSON OF THE GRAND JURY

oe
ae
£

PETER K.° LEVITT
ASSISTANT U.S. ATTORNEY

DISTRICT OF MASSACHUSETTS March 2, 2005

Returned into the District Court by the Grand Jurors and
filed.

pie
Deputy Clerk 7

wo.
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 6 of 21
2aJS 45 (5/97) - (Revised USAO MA 6/29/04) —

Criminal Case Cover Sheet O By CR 1 0 0 4. &. Rikcbourt - District of Massachusetts

Place of Offense: Lawrence Category No. I] Investigating Agency

City Lawrence Related Case Information:

County Essex Superseding Ind./ Inf. Case No,
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Luis Alberto Aldadino Juvenile [_ ] Yes No

Alias Name Beto

Address
Birth date (Year only): 1958 SSN (last4#): Sex M Race: ____ Nationality:
Defense Counsel if known: Address:
Bar Number:
U.S. Attorney Information:
AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: Yes {_] No List language and/or dialect: SO nw ty
Matter to be SEALED: [x] Yes [| No

Warrant Requested [_] Regular Process [_] In Custody
Location Status:
Arrest Date:
[| Already in Federal Custody as in
[| Already in State Custody [] Serving Sentence [ Awaiting Trial
| On Pretrial Release: Ordered by on
Charging Document: [| Complaint [] Information Indictment
Total # of Counts: [ ] Petty [| Misdemeanor Felony 1

Continue on Page 2 tor Entry of U.S.C. Citations

BA Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

L / » tle,
Date: %, [2 / cy Signature of AUSA: GE ALES

Case 1:05-cr-10048-RCL Documenti1 Filed 03/02/05

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 7 of 21

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Luis Alberto Aldadino

U.S.C, Citations

Index Kevy/Code Description of Offense Charged

Set 1 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL POSH EN de File¢ 03/02/05 Page 8 of 21

*adS 45 (5/97) - (Revived USAO MA bE YBE) oy, : i 3 ts x @& rn el

Criminal Case Cover Sheet &/ Ee a U.S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. II Investigating Agency FBI

City _Essex Related Case Information:

County Superseding Ind./ Inf. Case No.

Same Defendant New Defendant
Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Intormation:

Defendant Name DAVID ALBA Juvenile [| Yes No

Alias Name DAVID THOMAS ALBA GARCIA; OMAR GONZALES; JOSELITO

Address 112 NEW PARK STREET, APT. 1, LYNN, MA

Birth date (Year only}: 1977 SSN (last4 #4): 1016 Sex M Race: _Hispanic Nationality: Dominican

Defense Counsel if known: Address:

Bar Number:

U.S, Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: x Yes [7] No List language and/or dialect: of weds fA
?

Matter to be SEALED: [xX] Yes [_]No

Warrant Requested [_] Regular Process [__] In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as in

[| Already in State Custody [] Serving Sentence L Awaiting Trial
[| On Pretrial Release: Ordered by on

Charging Document: [] Complaint [_] Information Indictment
Total # of Counts: [ Petty [J Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[] I hereby certity that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 7 f A le S Signature of AUSA: Fe . “y .

Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 9 of 21

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant DAVID ALBA

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set1 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 1]

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 10 of 21

“JS 45 (5/97) - (Revised USAO MA 6/29/04) . . . we ;

Criminal Case Cover Sheet _ . Be bes US. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. II Investigating Agency
City _Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Glennys Rodriguez Juvenile [| Yes No

Altas Name

Address 281 Essex Street, Lynn, MA

Birth date (Year only): _1974 SSN (last 4#): 2453 Sex F_ Race: Hispanic Nationality:

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: 4 Yes [ ] No List language and/or dialect: GIA f.
7

Matter to be SEALED: Yes  [_]|No
Warrant Requested ["] Regular Process [_] In Custody
Location Status:

Arrest Date:

[| Already in Federal Custody as in

[ Already in State Custody [| Serving Sentence [] Awaiting Trial
[ | On Pretrial Release: Ordered by on

Charging Document: [] Complaint [] Information Indictment
Total # of Counts: [ ] Petty [| Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

7 ”
. Lf go 4 z
Date: FT fe fe 7 Signature of AUSA: Youths KK. OLY
eof

Case 1:05-cr-10048-RCL Documenti1 Filed 03/02/05

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 11 of 21

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Glennys Rodriguez

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set1 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION;
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 12 of 21

®JS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet . U.S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. II Investigating Agency FBI
City Lawrence Related Case Information:
County Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 trom District of

Defendant Information:

Defendant Name MANUEL DISLA Juvenile [] Yes No

Alias Name PICHON

Address _194 FRANKLIN STREET, #1, LYNN, MA

Birth date (Year only): 1978 SSN (last 4#): 5608 Sex _M Race: _Hispante Nationality: Dom. Republic

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761

Interpreter: CA Yes [ ] No List language and/or dialect: Set we > i.
Matter to be SEALED: [X] Yes [_]No

Warrant Requested [_] Regular Process [_] In Custody
Location Status:

Arrest Date:

[| Already in Federal Custody as in

[ ] Already in State Custody [| Serving Sentence {| Awaiting Trial
[| On Pretrial Release: Ordered by on

Charging Document: [ ] Complaint [J Information Indictment
Total # of Counts: [] Petty L] Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[A 1 hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 3 [2 le zy Signature of AUSA: LE, QLEE-

Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 13 of 21

JS 45 (5/97) - (Revised USAOQ MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant MANUEL DISLA

U.S.C. Citations
Index Kev/Code Description of Offense Charged
Set1 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 14 of 21
oS 45 (5/97) - (Revised USAO MA 6/29/04 A
“6 O5n10048RC..
Criminal Case Cover Sheet trict Court - District of Massachusetts

Place of Offense: Lawrence Category No. I Investigating Agency

City _Lawrence Related Case Information:

County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Adneer Gonzalez Juvenile [ ] Yes No

Alias Name Willie

Address _ 1845 Columbus Avenue, Roxbury, MA

Birth date (Year only): 1981 SSN (last4#): 4690 Sex _M Race: Hispanic Nationality:

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761

Interpreter: (4 Yes [] No List language and/or dialect: Yiwr os (~
¥

Matter to be SEALED: Yes [ ]No
Warrant Requested ["] Regular Process [_] In Custody
Location Status:

Arrest Date:

| Already in Federal Custody as in

[| Already in State Custody [| Serving Sentence [] Awaiting Trial
[| On Pretrial Release: Ordered by on

Charging Document: [] Complaint [_] Information Indictment
Total # of Counts: {| Petty [J Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

my I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

. a“ ge aa a oo + :
Date: 3 /2 Loox” Signature of AUSA: SEE" fo Lee
< ~ ¢
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05

%&JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 15 of 21

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Adneer Gonzalez

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set] 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Paumen . filed 03/02/05 Page 16 of 21

dS 45 (5/97) - (Revived USAO D goon a et ® & eC
ye AL
Criminal Case Cover feet) CR &  * 4 U. S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. I Investigating Agency
City Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Delendant Name Victor Filpo Juvenile C] Yes No

Alias Name El Compadre

Address 2442 Morris Avenue, #22, Bronx, NY

Birth date (Year only): 1961 SSN (last 4 #): 1143 Sex _M Race: Hispanic Nationality: Dom. Republic

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
Interpreter: [4 Yes [] No List language and/or dialect: Sed (.
fo

Matter to be SEALED: [X] Yes [ ]No

Warrant Requested [_] Regular Process [_] In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as in

[ Already in State Custody L | Serving Sentence [| Awaiting Trial
[_] On Pretrial Release: Ordered by on

Charging Document: [| Complaint [ ] Information Indictment
Total # of Counts: [ ] Petty LJ Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

:
Date: 3/2 le 7 Signature of AUSA: LEE. AO. LE
7

Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 17 of 21

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number {To be filled in by deputy clerk):

Name of Defendant Victor Filpo

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers

Set] 21 USC § 846 Conspiracy To Distribute Heroin 1

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 18 of 21

tS 48 (5/97) - (Revised USAO MA 6/29/04)"

ss 7

Criminal Case Cover Sheet: Ba o J oe we 7 : U.S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. IT _ Investigating Agency [FBI
City Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name LEOQANNY HERNANDEZ Juvenile [ ] Yes No

Alias Name ANNY

Address
Birth date (Year only): _ SSN (last 4 #): Sex F Race: Hispanic Nationality: Dom. Republic
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761
[nterpreter: PLyes [ J No List language and/or dialect: oye KTS {
Matter to be SEALED: [X] Yes [ ] No

Warrant Requested [_] Regular Process [__] In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as in

[| Already in State Custody [| Serving Sentence [| Awaiting Trial
[| On Pretrial Release: Ordered by on

Charging Document: [_] Complaint [~] information Indictment
Total # of Counts: [| Petty [ | Misdemeanor __ Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

[ } I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

7

. , wn
, F _ Tf 2 4 OMe
Date: ss [2 / Cry Signature of AUSA: VeF - Z, oo Af
cf Cc.
Case 1:05-cr-10048-RCL Document1 Filed 03/02/05 Page 19 of 21

JS 45 (5/97) - (Revised USAO MA 3/25/02) Pape 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant LEOANNY HERNANDEZ

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set] 21 USC 846 CONSPIRACY DISTRIBUTE HEROIN

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
Case 1:05-cr-10048-RCL Document 1 Filed 03/02/05 Page 20 of 21

JS 45 (5/97) - (Revised USAO MA 6/29/04)

Criminal Case Cover Sheet , - * Ce oe U.S. District Court - District of Massachusetts
Place of Offense: Lawrence Category No. II Investigating Agency
City _Lawrence Related Case Information:
County —_ Essex Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Defendant Information:

Defendant Name Luis Olmo Diaz Juvenile [ ] Yes No

Alias Name

Address 98 Forest Hill Street, Jamaica Plain, MA

Birth date (Year only}: (1981 SSN (last4#): 1815 Sex _M Race: _Hispanic Nationality:

Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information:

AUSA Peter K. Levitt Bar Number if applicable 565761

Interpreter: [AWes [] No List language and/or dialect: Sis ALY (.
Matter to be SEALED: [X] Yes [_]No

Warrant Requested [_] Regular Process [] In Custody
Location Status;

Arrest Date:

[ ] Already in Federal Custody as in

[|] Already in State Custody [| Serving Sentence [] Awaiting Trial
[| On Pretrial Release; Ordered by on

Charging Document: [_] Comptaint [_] Information Indictment
Total # of Counts: [ Petty | | Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

TA I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

. ’ on.
wD FF a Re
py . on A ee
Date: F [y he SS Signature of AUSA: LEN - 4 “or ELE
Case 1:05-cr-10048-RCL Documenti1 Filed 03/02/05

JS 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

Page 21 of 21

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Luis Olmo Diaz

U.S.C. Citations

Index Key/Code Description of Offense Charged

Set1 21 USC § 846 Conspiracy To Distribute Heroin

Count Numbers

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 16

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:
